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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


   MARY PRZYTULA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                        No. 17 Civ. 5124
                           Plaintiffs,

            v.


   BED BATH & BEYOND INC.,

                           Defendant.



                              DECLARATION OF TINA SUOJANEN

       I, Tina Suojanen, based on my personal knowledge of the facts stated herein, testify by

Declaration as follows:

       1.        I am over the age of 18 and am otherwise competent to testify to the matters

contained in this Declaration, and if so called, would testify to the facts below.

       2.        All of the statements in this Declaration are true and accurate to the best of my

knowledge.

       3.        The facts set forth in this Declaration are based on my own personal knowledge.

       4.        I became employed by Bed Bath and Beyond Inc. ("BBB") in 1989 as a Cashier.

Over the years I have held numerous positions with the Company. In 2015, I became the Vice

President of Human Resources Operations which is my current role.

       5.        In my current capacity as Vice President of Human Resources Operations, I am

responsible for supporting the field Human Resources personnel in associate relations and

Human Resources services.



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        6.     BBB employs over 45,000 employees across approximately 1,000 stores

throughout all fifty (50) states.

        7.      BBB organizes its stores by region. There are seven (7) Regions covering various

parts of the country: (i) Canada-Northwest; (ii) Central; (iii) Mid-Atlantic; (iv) Midwest; (v)

Northeast; (vi) Southeast; and (vii) West.

        8.      Each of the seven (7) Regions is overseen by a Regional Vice President.

Reporting to the Regional Vice President is at least one Regional Manager.

        9.      Each of the seven (7) Regions also has its own Human Resources function

overseen by a Regional Human Resources Director, except for the Northeast Region which has

two (2) Regional Human Resources Directors. Reporting to the Regional Human Resources

Director are Regional Human Resources Managers.

        10.     The seven (7) Regions are further divided into 100 different Districts. Each

District has a District Manager, who reports to the Regional Manager. Each District also has a

District IIuman Resources Manager, who also reports to the District Manager with oversight by

the Regional Human Resources Manager.

        11.     BBB differentiates between its stores by, among other things, sales volume.

        12.     One of the Company's highest volume stores is Store 42, which is in the Chelsea

neighborhood of New York City. Store 42 employs approximately 325 employees, including

approximately 7 Assistant Store Managers and approximately 20 Department Supervisors. The

number of employees varies from time to time based on hiring or attrition.

        13.     Other very high volume stores typically range in size from 50,000 square feet to

over 100,000 square feet and employ on average approximately 150 employees. Typically, a




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very high volume store has anywhere from 2 to 6 Assistant Store Managers, 0 to 15 Department

Supervisors, and 40 to over 150 hourly associates.

         14.   High volume stores typically range in size from 24,000 square feet to 80,000

square feet and employ anywhere from 50 to 80 employees on average, typically with

approximately 2 to 4 Assistant Store Managers and 0 to 5 Department Supervisors.

         15.   Mid volume stores typically range in size from 18,000 square feet to 65,000

square feet and employ anywhere from 25 to 35 employees on average, typically with

approximately 0 to 4 Assistant Store Managers and 0 to 4 Department Supervisors.

         16.   Low volume stores typically range in size from 18,000 to 28,000 square feet and

typically employ approximately 15-20 employees, with 0 to 3 Assistant Store Managers and 0 to

3 Department Supervisors.

         17.   BBB's stores each vary in size, operation, and number of employees. The

variances between stores are due to, among other things, regional variations, sales volume, and

the local competitive environment.

         18.   Each store has a Store Manager, who is responsible for the operation of the entire

store.

         19.   BBB has a decentralized structure. Local management (including Store Managers)

possess a high level of independence and autonomy in how they run their stores.

         20.   BBB encourages local management and Store Managers to focus on changing

trends in their geographic area and to tailor their stores' merchandise mix to the needs of the

local customers.




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         21.   Reporting to the Store Managers are Assistant Store Managers. The Company has

two different types of Assistant Store Managers: Operations Managers and Merchandise

Assistant Managers.

         22.   The job requirements for both Operations Managers and Merchandise Assistant

Managers include: (i) directing the daily activities of Department Supervisors and hourly

associates; (ii) training and development of staff; (iii) participating in interviewing and hiring of

hourly associates; and (iv) counseling, disciplining, and assisting in terminations.

         23.   In addition to their general responsibilities described above, Operations Managers

are also responsible for: (i) ensuring that area of the store where customers' purchases are

transacted (referred to as the "front end") is operating according to proper procedures through

management of staff; (ii) ensuring that the area of the store where merchandise is received and

shipped out of (referred to as the "back end") is operating according to proper procedures

through management of staff; (iii) performing and/or overseeing new hire associate orientations;

(iv) processing of new hire/benefits paperwork; and (v) scheduling associates' shifts within the

store.

         24.   In addition to their general responsibilities described above, Merchandise

Assistant Managers are also responsible for the hourly associates who work on the store floor in

the various departments. At any given time, the number of hourly associates working on the floor

can range from 2 to 118, depending on the size of the store.

         25.   Since at least 2010, Assistant Store Managers in California became classified as

non-exempt and are paid hourly. Assistant Store Managers in Alaska have always been classified

as non-exempt and are also paid hourly. All Assistant Store Managers across the other 48 states

are classified as exempt employees and are paid a salary.




                                                  4
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       26.      Upon a preliminary review, BBB believes there are approximately 4,000 putative

collective action or class members in the Assistant Store Manager class in over 850 stores

nationwide, excluding California and Alaska.

        27.     Attached hereto as Exhibit 1 is a true and accurate copy of a table showing the

stores in which the Assistant Store Manager Plaintiffs who submitted declarations worked in

during the relevant time period compared to all other stores nationwide where putative collective

action or class members worked.

        28.     Below the Assistant Store Manager position are Department Supervisors and

Managers in Training. Prior to August of 2017, the primary position below the Assistant Store

Manager was Department Managers. The Company no longer employs Department Managers in

any of its stores.



        I declare under penalty of perjury that the foregoing is true and correct.



Executed this/       ay of December, 2017.


                                               By:

                                                      Vice President, Human Resources Operations
                                                      Bed Bath and Beyond Inc.




                                                  5
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                       EXHIBIT 1
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                                                                  Stores where the ASM Plaintiffs did not
                                                                  work and for which they Fail to Provide
      Stores at which the ASM Declarants
                                                                 Any Evidence from During the Relevant
    Worked During the Relevant Time Period1
                                                                 Time Period, but where they Seek to have
                                                                                Notice Sent

Store 105 – Manhasset, New York                                 Store 1 – Springfield, New Jersey
Number of ASMs: 3                                               Number of ASMs: 3
Number of DSs: 3                                                Number of DSs: 4
Number of Associates: 64                                        Number of Associates: 80

Store 199 – Columbia, South Carolina                            Store 2 – Lawrence, New York
Number of ASMs: 3                                               Number of ASMs: 3
Number of DSs: 2                                                Number of DSs: 1
Number of Associates: 38                                        Number of Associates: 41

Store 260 – Westbury, New York                                  Store 3 – Huntington Station, New York
Number of ASMs: 5                                               Number of ASMs: 3
Number of DSs: 4                                                Number of DSs: 4
Number of Associates: 132                                       Number of Associates: 96

Store 363 – Greenwood, Indiana                                  Store 5 – Danbury, Connecticut
Number of ASMs: 2                                               Number of ASMs: 2
Number of DSs: 0                                                Number of DSs: 0
Number of Associates: 25                                        Number of Associates: 41

Store 593 – Columbia, South Carolina                            Store 6 – Stamford, Connecticut
Number of ASMs: 2                                               Number of ASMs: 3
Number of DSs: 0                                                Number of DSs: 3
Number of Associates: 27                                        Number of Associates: 63

Store 770 – East Northport, New York                            Store 7 – Lawrenceville, New Jersey
Number of ASMs: 3                                               Number of ASMs: 3
Number of DSs: 3                                                Number of DSs: 1
Number of Associates: 81                                        Number of Associates: 47

Store 779 – Columbia, South Carolina                            Store 9 – Paramus, New Jersey
Number of ASMs: 2                                               Number of ASMs: 5
Number of DSs: 1                                                Number of DSs: 8
Number of Associates: 20                                        Number of Associates: 130




1
    The data contained throughout this exhibit reflects the staffing levels as of November 2017.
                                                            1
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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
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                                               Any Evidence from During the Relevant
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                                               Time Period, but where they Seek to have
                                                              Notice Sent

Store 843 – West Babylon, New York            Store 12 – Norwalk, Connecticut
Number of ASMs: 3                             Number of ASMs: 3
Number of DSs: 2                              Number of DSs: 3
Number of Associates: 61                      Number of Associates: 77

Store 850 – Bohemia, New York                 Store 16 – West Nyack, New York
Number of ASMs: 3                             Number of ASMs: 3
Number of DSs: 2                              Number of DSs: 1
Number of Associates: 101                     Number of Associates: 40

Store 1003 – Vernon Hills, Illinois           Store 27 – Cherry Hill, New Jersey
Number of ASMs: 3                             Number of ASMs: 3
Number of DSs: 1                              Number of DSs: 1
Number of Associates: 40                      Number of Associates: 57

Store 1087 – Mount Prospect, Illinois         Store 29 – Falls Church, Virginia
Number of ASMs: 3                             Number of ASMs: 3
Number of DSs: 0                              Number of DSs: 1
Number of Associates: 40                      Number of Associates: 38

Store 1094 – Atlanta, Georgia                 Store 32 – Deerfield, Illinois
Number of ASMs: 3                             Number of ASMs: 3
Number of DSs: 1                              Number of DSs: 1
Number of Associates: 34                      Number of Associates: 43

Store 1246 – Flushing, New York               Store 33 – Rockville, Maryland
Number of ASMs: 2                             Number of ASMs: 5
Number of DSs: 1                              Number of DSs: 7
Number of Associates: 33                      Number of Associates: 139

Store 1275 – Fort Smith, Arkansas             Store 34 – Sunrise, Florida
Number of ASMs: 1                             Number of ASMs: 4
Number of DSs: 2                              Number of DSs: 4
Number of Associates: 20                      Number of Associates: 91




                                          2
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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                              Store 35 – Annapolis, Maryland
                                              Number of ASMs: 3
                                              Number of DSs: 0
                                              Number of Associates: 65

                                              Store 36 – Gurnee, Illinois
                                              Number of ASMs: 4
                                              Number of DSs: 2
                                              Number of Associates: 49

                                              Store 37 – Lake Grove, New York
                                              Number of ASMs: 3
                                              Number of DSs: 3
                                              Number of Associates: 105

                                              Store 39 – Schaumberg, Illinois
                                              Number of ASMs: 4
                                              Number of DSs: 6
                                              Number of Associates: 89

                                              Store 40 – Albany, New York
                                              Number of ASMs: 3
                                              Number of DSs: 1
                                              Number of Associates: 51

                                              Store 41 – Casselberry, Florida
                                              Number of ASMs: 3
                                              Number of DSs: 0
                                              Number of Associates: 31

                                              Store 42 – New York, New York
                                              Number of ASMs: 7
                                              Number of DSs: 20
                                              Number of Associates: 283




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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                              Store 43 – Farmington Hills, Michigan
                                              Number of ASMs: 3
                                              Number of DSs: 4
                                              Number of Associates: 59

                                              Store 44 – Troy, Michigan
                                              Number of ASMs: 3
                                              Number of DSs: 3
                                              Number of Associates: 41

                                              Store 45 – Houston, Texas
                                              Number of ASMs: 3
                                              Number of DSs: 3
                                              Number of Associates: 77

                                              Store 46 – Miami, Florida
                                              Number of ASMs: 3
                                              Number of DSs: 6
                                              Number of Associates: 80

                                              Store 47 – Tuscon, Arizona
                                              Number of ASMs: 3
                                              Number of DSs: 1
                                              Number of Associates: 32

                                              Store 48 – Warrensville Heights, Ohio
                                              Number of ASMs: 2
                                              Number of DSs: 4
                                              Number of Associates: 29

                                              Store 49 – Sterling Heights, Michigan
                                              Number of ASMs: 3
                                              Number of DSs: 5
                                              Number of Associates: 47




                                          4
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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                              Store 51 – Webster, Texas
                                              Number of ASMs: 3
                                              Number of DSs: 3
                                              Number of Associates: 77

                                              Store 52 – Columbia, Maryland
                                              Number of ASMs: 3
                                              Number of DSs: 1
                                              Number of Associates: 79

                                              Store 53 – Downers Grove, Illinois
                                              Number of ASMs: 3
                                              Number of DSs: 7
                                              Number of Associates: 80

                                              Store 54 – Westlake, Ohio
                                              Number of ASMs: 2
                                              Number of DSs: 1
                                              Number of Associates: 26

                                              Store 55 – West Palm Beach, Florida
                                              Number of ASMs: 3
                                              Number of DSs: 2
                                              Number of Associates: 56

                                              Store 56 – Fairfax, Virginia
                                              Number of ASMs: 3
                                              Number of DSs: 0
                                              Number of Associates: 27

                                              Store 57 – Atlanta, Georgia
                                              Number of ASMs: 3
                                              Number of DSs: 4
                                              Number of Associates: 49




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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                              Store 58 – King of Prussia, Pennsylvania
                                              Number of ASMs: 3
                                              Number of DSs: 0
                                              Number of Associates: 39

                                              Store 59 – Hialeah, Florida
                                              Number of ASMs: 3
                                              Number of DSs: 0
                                              Number of Associates: 32

                                              Store 60 – Fairlawn, Ohio
                                              Number of ASMs: 2
                                              Number of DSs: 1
                                              Number of Associates: 28

                                              Store 61 – Plano, Texas
                                              Number of ASMs: 3
                                              Number of DSs: 3
                                              Number of Associates: 50

                                              Store 62 – Houston, Texas
                                              Number of ASMs: 3
                                              Number of DSs: 1
                                              Number of Associates: 37

                                              Store 63 – Chicago, Illinois
                                              Number of ASMs: 3
                                              Number of DSs: 4
                                              Number of Associates: 49

                                              Store 64 – Wilmette, Illinois
                                              Number of ASMs: 3
                                              Number of DSs: 2
                                              Number of Associates: 39




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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                              Store 65 – Fairfax, Virginia
                                              Number of ASMs: 3
                                              Number of DSs: 2
                                              Number of Associates: 54

                                              Store 66 – Kennesaw, Georgia
                                              Number of ASMs: 3
                                              Number of DSs: 0
                                              Number of Associates: 56

                                              Store 67 – Dallas, Texas
                                              Number of ASMs: 4
                                              Number of DSs: 0
                                              Number of Associates: 66

                                              Store 68 – Denver, Colorado
                                              Number of ASMs: 6
                                              Number of DSs: 10
                                              Number of Associates: 104

                                              Store 69 – Brandon, Florida
                                              Number of ASMs: 3
                                              Number of DSs: 5
                                              Number of Associates: 47

                                              Store 80 – Duluth, Georgia
                                              Number of ASMs: 2
                                              Number of DSs: 0
                                              Number of Associates: 19

                                              Store 82 – Dallas, Texas
                                              Number of ASMs: 4
                                              Number of DSs: 6
                                              Number of Associates: 72




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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                              Store 84 – Austin, Texas
                                              Number of ASMs: 3
                                              Number of DSs: 1
                                              Number of Associates: 44

                                              Store 85 – Auburn, Washington
                                              Number of ASMs: 3
                                              Number of DSs: 0
                                              Number of Associates: 24

                                              Store 86 – Tulsa, Oklahoma
                                              Number of ASMs: 3
                                              Number of DSs: 1
                                              Number of Associates: 37

                                              Store 87 – Overland Park, Kansas
                                              Number of ASMs: 3
                                              Number of DSs: 4
                                              Number of Associates: 62

                                              Store 88 – Houston, Texas
                                              Number of ASMs: 3
                                              Number of DSs: 4
                                              Number of Associates: 49

                                              Store 89 – Gaithersburg, Maryland
                                              Number of ASMs: 2
                                              Number of DSs: 1
                                              Number of Associates: 30

                                              Store 90 – Orlando, Florida
                                              Number of ASMs: 2
                                              Number of DSs: 3
                                              Number of Associates: 33




                                          8
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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                              Store 91 – Indianapolis, Indiana
                                              Number of ASMs: 3
                                              Number of DSs: 3
                                              Number of Associates: 38

                                              Store 92 – Boca Raton, Florida
                                              Number of ASMs: 3
                                              Number of DSs: 4
                                              Number of Associates: 64

                                              Store 93 – Phoenix, Arizona
                                              Number of ASMs: 3
                                              Number of DSs: 5
                                              Number of Associates: 63

                                              Store 94 – Vienna, Virginia
                                              Number of ASMs: 3
                                              Number of DSs: 5
                                              Number of Associates: 78

                                              Store 96 – Merrillville, Indiana
                                              Number of ASMs: 3
                                              Number of DSs: 1
                                              Number of Associates: 21

                                              Store 97 – Sunset Valley (Austin), Texas
                                              Number of ASMs: 3
                                              Number of DSs: 1
                                              Number of Associates: 56

                                              Store 98 – Hoover, Alabama
                                              Number of ASMs: 2
                                              Number of DSs: 4
                                              Number of Associates: 27




                                          9
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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 99 – Tampa, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 32

                                           Store 100 – Miami, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 47

                                           Store 102 – Burlington, Massachusetts
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 59

                                           Store 103 – Alpharetta, Georgia
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 48

                                           Store 104 – Houston, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 23

                                           Store 106 – Chesapeake, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 44

                                           Store 107 – Independence, Missouri
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26




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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 108 – Rockford, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 109 – Framingham, Massachusetts
                                           Number of ASMs: 4
                                           Number of DSs: 6
                                           Number of Associates: 70

                                           Store 110 – Charlottesville, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 46

                                           Store 111 – Albuquerque, New Mexico
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 34

                                           Store 112 – Rochester, New York
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 34

                                           Store 113 – Northville, Michigan
                                           Number of ASMs: 3
                                           Number of DSs: 4
                                           Number of Associates: 42

                                           Store 114 – Virginia Beach, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 58




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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 115 – Edgewater, New Jersey
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 117 – Lone Tree, Colorado
                                           Number of ASMs: 3
                                           Number of DSs: 4
                                           Number of Associates: 45

                                           Store 118 – Atlanta, Georgia
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 39

                                           Store 119 – North Canton, Ohio
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 51

                                           Store 121 – Memphis, Tennessee
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 38

                                           Store 123 – Charlotte, North Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 38

                                           Store 124 – Cary, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 3
                                           Number of Associates: 67




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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 125 – Bethel Park, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 66

                                           Store 126 – Stafford, Texas
                                           Number of ASMs: 4
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 128 – Naples, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 10
                                           Number of Associates: 85

                                           Store 129 – Arlington, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 32

                                           Store 130 – Holyoke, Massachusetts
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 29

                                           Store 131 – Vestal, New York
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 35

                                           Store 132 – Madison, Wisconsin
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 43




                                          13
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                                                Stores where the ASM Plaintiffs did not
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                                               Any Evidence from During the Relevant
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                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 133 – Naperville, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 39

                                           Store 134 – San Antonio, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 63

                                           Store 135 – Rego Park, New York
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 79

                                           Store 136 – Tigard, Oregon
                                           Number of ASMs: 5
                                           Number of DSs: 4
                                           Number of Associates: 53

                                           Store 137 – Lakewood, Colorado
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 41

                                           Store 140 – Cheektowaga, New York
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 14

                                           Store 141 – San Antonio, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 46




                                          14
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 21 of 127 PageID #:1019




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 146 – Pembroke Pines, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 4
                                           Number of Associates: 51

                                           Store 147 – Manchester, Missouri
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 42

                                           Store 148 – Birmingham, Alabama
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 29

                                           Store 149 – Braintree, Massachusetts
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 53

                                           Store 150 – Boynton Beach, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 4
                                           Number of Associates: 41

                                           Store 151 – Kansas City, Missouri
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 29

                                           Store 153 – Pittsburgh, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 29




                                          15
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 22 of 127 PageID #:1020




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 154 – Jacksonville, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 47

                                           Store 155 – Augusta, Georgia
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 33

                                           Store 156 – Glen Allen, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 71

                                           Store 157 – St. Peters, Missouri
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 41

                                           Store 159 – East Hanover, New Jersey
                                           Number of ASMs: 5
                                           Number of DSs: 7
                                           Number of Associates: 78

                                           Store 160 – Iselin, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 5
                                           Number of Associates: 73

                                           Store 161 – Wynnewood, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 85




                                          16
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 23 of 127 PageID #:1021




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 164 – Oklahoma City, Oklahoma
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 53

                                           Store 165 – Bloomington, Minnesota
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 47

                                           Store 166 – Roseville, Michigan
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 56

                                           Store 167 – Lexington, Kentucky
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 50

                                           Store 168 – Snellville, Georgia
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 26

                                           Store 169 – Waldorf, Maryland
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 39

                                           Store 170 – Fairview Heights, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 46




                                          17
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 24 of 127 PageID #:1022




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 171 – Oviedo, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 172 – Newport News, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 51

                                           Store 174 – Owing Mills, Maryland
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 38

                                           Store 175 – Seattle, Washington
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 52

                                           Store 176 – Shawnee, Kansas
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 29

                                           Store 177 – Knoxville, Tennessee
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 30

                                           Store 178 – St. Petersburg, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 51




                                          18
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 25 of 127 PageID #:1023




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 180 – Greece, New York
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 39

                                           Store 181 – Williston, Vermont
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 58

                                           Store 182 – Springfield, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 49

                                           Store 184 – Redmond, Washington
                                           Number of ASMs: 3
                                           Number of DSs: 4
                                           Number of Associates: 38

                                           Store 185 – Wilmington, Delaware
                                           Number of ASMs: 4
                                           Number of DSs: 4
                                           Number of Associates: 65

                                           Store 187 – Geneva, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 43

                                           Store 188 – Frederick, Maryland
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 45




                                          19
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 26 of 127 PageID #:1024




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 189 – Chandler, Arizona
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 34

                                           Store 190 – Crystal Lake, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 47

                                           Store 192 – Midlothian, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 50

                                           Store 193 – Milford, Connecticut
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 50

                                           Store 194 – Fort Collins, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 54

                                           Store 195 – Columbus, Ohio
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 196 – Towson, Maryland
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 54




                                          20
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 27 of 127 PageID #:1025




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 197 – Aventura, Florida
                                           Number of ASMs: 4
                                           Number of DSs: 9
                                           Number of Associates: 146

                                           Store 198 – Midvale, Utah
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 33

                                           Store 200 – Colorado Springs, Colorado
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 39

                                           Store 202 – Grand Rapids, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 3
                                           Number of Associates: 28

                                           Store 204 – Solon, Ohio
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 34

                                           Store 205 – Auburn Hills, Michigan
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 35

                                           Store 207 – Deptford, New Jersey
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 59




                                          21
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 28 of 127 PageID #:1026




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 208 – Reno, Nevada
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 40

                                           Store 211 – Lincoln, Nebraska
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 38

                                           Store 213 – Stuart, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 55

                                           Store 214 – Clearwater, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 6
                                           Number of Associates: 84

                                           Store 215 – Mishawaka, Indiana
                                           Number of ASMs: 3
                                           Number of DSs:
                                           Number of Associates: 36

                                           Store 216 – Vancouver, Washington
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 17

                                           Store 219 – Brentwood, Missouri
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 52




                                          22
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 29 of 127 PageID #:1027




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 222 – Grand Chute, Wisconsin
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26

                                           Store 224 – Brick, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 53

                                           Store 226 – Hurst, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 22

                                           Store 227 – Jenkintown, Pennsylvania
                                           Number of ASMs: 4
                                           Number of DSs: 5
                                           Number of Associates: 62

                                           Store 228 – Little Rock, Arkansas
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 46

                                           Store 231 – Norman, Oklahoma
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 233 – Glendale, Arizona
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 32




                                          23
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 30 of 127 PageID #:1028




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 234 – Ann Arbor, Michigan
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 40

                                           Store 235 – Sarasota, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 5
                                           Number of Associates: 61

                                           Store 236 – Daytona Beach, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 32

                                           Store 237 – Mt. Pleasant, South Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 40

                                           Store 238 – Tampa, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 38

                                           Store 239 – Farmington, Connecticut
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 44

                                           Store 240 – Holland, Ohio
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 21




                                          24
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 31 of 127 PageID #:1029




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 242 – Davenport, Iowa
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 42

                                           Store 243 – Olathe, Kansas
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 23

                                           Store 244 – Providence, Rhode Island
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 21

                                           Store 245 – Gainesville, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 33

                                           Store 247 – Elmsford, New York
                                           Number of ASMs: 4
                                           Number of DSs: 5
                                           Number of Associates: 134

                                           Store 248 – Baton Rouge, Louisiana
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 50

                                           Store 250 – Lynnwood, Washington
                                           Number of ASMs: 3
                                           Number of DSs: 5
                                           Number of Associates: 38




                                          25
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 32 of 127 PageID #:1030




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 251 – White Hall, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 68

                                           Store 252 – Bridgewater, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 69

                                           Store 255 – Buford, Georgia
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 28

                                           Store 258 – Elizabeth, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 44

                                           Store 263 – Concord, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 40

                                           Store 265 – Mandeville, Louisiana
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 34

                                           Store 266 – Eatontown, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 48




                                          26
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 33 of 127 PageID #:1031




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 267 – Douglasville, Georgia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 30

                                           Store 268 – Asheville, North Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 44

                                           Store 269 – Springfield, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 57

                                           Store 270 – West Valley City, Utah
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 13

                                           Store 271 – Harrisburg, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 41

                                           Store 272 – Katy, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 72

                                           Store 273 – Palm Beach Gardens, Florida
                                           Number of ASMs: 4
                                           Number of DSs: 7
                                           Number of Associates: 76




                                          27
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 34 of 127 PageID #:1032




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 276 – Orland Park, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 4
                                           Number of Associates: 66

                                           Store 278 – Fayetteville, Arkansas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 26

                                           Store 279 – Littleton, Colorado
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 38

                                           Store 280 – Marietta, Georgia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 282 – Orlando, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 283 – Brunswick, Georgia
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 285 – Ft. Myers, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 40




                                          28
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 35 of 127 PageID #:1033




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 288 – Westland, Michigan
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 22

                                           Store 289 – Middletown, New Jersey
                                           Number of ASMs: 4
                                           Number of DSs: 1
                                           Number of Associates: 49

                                           Store 290 – Normal, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 291 – Coral Springs, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 38

                                           Store 292 – Orem, Utah
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 293 – Louisville, Kentucky
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 60

                                           Store 294 – Salt Lake City, Utah
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23




                                          29
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 36 of 127 PageID #:1034




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 295 – Beverly Hills, Michigan
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 296 – North Wales, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 35

                                           Store 297 – Boston, Massachusetts
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 40

                                           Store 298 – Bluffton, South Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 31

                                           Store 301 – Cincinnati (Rookwood), Ohio
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 29

                                           Store 302 – Wyomissing, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 52

                                           Store 303 – Watchung, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 52




                                          30
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 37 of 127 PageID #:1035




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 304 – Plymouth Mtg., Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 47

                                           Store 305 – Round Rock, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 36

                                           Store 306 – Arlington, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 39

                                           Store 309 – Charlotte, North Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 42

                                           Store 311 – Simsbury, Connecticut
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 22

                                           Store 313 – Athens, Georgia
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 32

                                           Store 314 – Kennewick, Washington
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26




                                          31
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 38 of 127 PageID #:1036




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 316 – North Brunswick, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 33

                                           Store 317 – Winston Salem, North Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 52

                                           Store 318 – Midland, Texas
                                           Number of ASMs: 0
                                           Number of DSs: 2
                                           Number of Associates: 33

                                           Store 319 – Eugene, Oregon
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 43

                                           Store 320 – Shrewsbury, Massachusetts
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 37

                                           Store 321 – Lafayette, Louisiana
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 56

                                           Store 322 – Champaign, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 17




                                          32
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 39 of 127 PageID #:1037




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 323 – Pickerington, Ohio
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 22

                                           Store 324 – Hagerstown, Maryland
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 326 – Wichita, Kansas
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 46

                                           Store 327 – Johnson City, Tennessee
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 18

                                           Store 328 – Fargo, North Dakota
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 39

                                           Store 329 – Grand Forks, North Dakota
                                           Number of ASMs: 0
                                           Number of DSs: 2
                                           Number of Associates: 15

                                           Store 330 – Ft. Worth, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 35




                                          33
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 40 of 127 PageID #:1038




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 332 – Hanover, Maryland
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 51

                                           Store 333 – Meridian, Idaho
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 46

                                           Store 335 – Peoria, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 35

                                           Store 336 – Newtown, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 54

                                           Store 337 – Homestead, Pennsylvania
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 338 – Colorado Springs, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 339 – Franklin, Tennessee
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 57




                                          34
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 41 of 127 PageID #:1039




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 341 – Southlake, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 29

                                           Store 342 – Cedar Rapids, Iowa
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 33

                                           Store 343 – Wyoming, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 3
                                           Number of Associates: 38

                                           Store 344 – Birmingham, Alabama
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 18

                                           Store 345 – Pittsburgh, Pennsylvania
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 16

                                           Store 346 – Gresham, Oregon
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 27

                                           Store 347 – Royal Palm Beach, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 41




                                          35
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 42 of 127 PageID #:1040




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 348 – Marlton, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 31

                                           Store 349 – Greenville, South Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 76

                                           Store 350 – Danvers, Massachusetts
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 61

                                           Store 351 – Bloomington, Indiana
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 15

                                           Store 352 – Amarillo, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 42

                                           Store 354 – Jackson, Mississippi
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 355 – Westminster, Colorado
                                           Number of ASMs: 4
                                           Number of DSs: 2
                                           Number of Associates: 62




                                          36
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 43 of 127 PageID #:1041




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 356 – El Paso, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 357 – Greensboro, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 33

                                           Store 358 – Youngstown, Ohio
                                           Number of ASMs: 4
                                           Number of DSs: 1
                                           Number of Associates: 27

                                           Store 359 – Davie, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 32

                                           Store 360 – Stow, Ohio
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 27

                                           Store 361 – New York, New York
                                           Number of ASMs: 6
                                           Number of DSs: 15
                                           Number of Associates: 142

                                           Store 362 – Spokane, Washington
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 29




                                          37
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 44 of 127 PageID #:1042




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 364 – Taylor, Michigan
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 20

                                           Store 365 – Bangor, Maine
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 22

                                           Store 366 – Rochester, Minnesota
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 367 – Spartanburg, South Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 23

                                           Store 368 – Novi, Michigan
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 24

                                           Store 369 – Okemos, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 21

                                           Store 370 – Columbus, Ohio
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 41




                                          38
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 45 of 127 PageID #:1043




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 371 – Tukwila, Washington
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 47

                                           Store 372 – Warwick, Rhode Island
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 66

                                           Store 374 – Bellevue, Washington
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 375 – Evansville, Indiana
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 31

                                           Store 376 – Glen Allen, Virginia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26

                                           Store 377 – Wilkes-Barre, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 39

                                           Store 378 – Rochester Hills, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 44




                                          39
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 46 of 127 PageID #:1044




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 379 – Wichita, Kansas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 380 – Salem, New Hampshire
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 36

                                           Store 382 – Houston, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 23

                                           Store 385 – Boca Raton, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 41

                                           Store 386 – Slidell, Louisiana
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 14

                                           Store 388 – Tallahassee, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 4
                                           Number of Associates: 41

                                           Store 389 – Mays Landing, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 33




                                          40
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 47 of 127 PageID #:1045




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 390 – Louisville, Kentucky
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 30

                                           Store 392 – Macon, Georgia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 14

                                           Store 393 – Dulles, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 32

                                           Store 394 – Yonkers, New York
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 71

                                           Store 395 – Ft. Wayne, Indiana
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 36

                                           Store 398 – Shreveport, Louisiana
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 399 – Holland, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 17




                                          41
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 48 of 127 PageID #:1046




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 400 – Destin, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 43

                                           Store 401 – Ramsey, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 35

                                           Store 402 – Greendale, Wisconsin
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 37

                                           Store 403 – Memphis, Tennessee
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 29

                                           Store 404 – Frisco, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 60

                                           Store 405 – Huntsville, Alabama
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 22

                                           Store 406 – Plano, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 28




                                          42
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 49 of 127 PageID #:1047




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 408 – Northglenn, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 410 – Mohegan Lake, New York
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 39

                                           Store 413 – Muskegon, Michigan
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 15

                                           Store 414 – Apple Valley, Minnesota
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 31

                                           Store 415 – Kildeer, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 33

                                           Store 416 – Boulder, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 417 – Puyallup, Washington
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 24




                                          43
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 50 of 127 PageID #:1048




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 418 – Wilmington, North Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 57

                                           Store 420 – Saginaw, Michigan
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 421 – Coon Rapids, Minnesota
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 20

                                           Store 422 – Henderson, Nevada
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 39

                                           Store 423 – Flanders, New Jersey
                                           Number of ASMs: 4
                                           Number of DSs: 0
                                           Number of Associates: 44

                                           Store 424 – Port Charlotte, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 48

                                           Store 425 – Avon, Indiana
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 16




                                          44
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 51 of 127 PageID #:1049




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 426 – Jacksonville, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 427 – Gastonia, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 428 – Clive, Iowa
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 48

                                           Store 429 – Temple, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 430 – San Antonio, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 56

                                           Store 431 – Hillsboro, Oregon
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 33

                                           Store 432 – Exton, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 55




                                          45
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 52 of 127 PageID #:1050




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 433 – South Portland, Maine
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 36

                                           Store 434 – Battle Creek, Michigan
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 15

                                           Store 435 – Matthews, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 436 – Aurora, Colorado
                                           Number of ASMs: 4
                                           Number of DSs: 0
                                           Number of Associates: 28

                                           Store 437 – Anderson, South Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 23

                                           Store 438 – Dillon, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 13

                                           Store 439 – Gambrills, Maryland
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 31




                                          46
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 53 of 127 PageID #:1051




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 440 – Hickory, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 27

                                           Store 441 – Durham, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 24

                                           Store 442 – Houston, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 4
                                           Number of Associates: 76

                                           Store 443 – Pasadena, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 31

                                           Store 444 – Lee’s Summit, Missouri
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 18

                                           Store 445 – Beaverton, Oregon
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 33

                                           Store 446 – Flint, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 27




                                          47
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 54 of 127 PageID #:1052




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 447 – Erie, Pennsylvania
                                           Number of ASMs: 1
                                           Number of DSs: 3
                                           Number of Associates: 22

                                           Store 448 – Elmira, New York
                                           Number of ASMs: 0
                                           Number of DSs: 1
                                           Number of Associates: 22

                                           Store 449 – Warrington, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 47

                                           Store 450 – Auburn, Massachusetts
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 30

                                           Store 452 – Cincinnati, Ohio
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 19

                                           Store 453 – Manchester, Connecticut
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 29

                                           Store 454 – Fort Lauderdale, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 5
                                           Number of Associates: 66




                                          48
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 55 of 127 PageID #:1053




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 456 – Maple Grove, Minnesota
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 33

                                           Store 457 – Eagan, Minnesota
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 21

                                           Store 458 – North Olmsted, Ohio
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 460 – St. Louis, Missouri
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 44

                                           Store 461 – Pittsburgh, Pennsylvania
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 27

                                           Store 462 – Dayton, Ohio
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 36

                                           Store 463 – Bellingham, Washington
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20




                                          49
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 56 of 127 PageID #:1054




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 464 – Raleigh, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 28

                                           Store 466 – Lynchburg, Virginia
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 24

                                           Store 467 – Brooklyn, New York
                                           Number of ASMs: 4
                                           Number of DSs: 3
                                           Number of Associates: 54

                                           Store 468 – Middletown, New York
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 30

                                           Store 469 – Mt. Vernon, New York
                                           Number of ASMs: 3
                                           Number of DSs: 5
                                           Number of Associates: 62

                                           Store 470 – Columbus, Georgia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 471 – Grand Junction, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 24




                                          50
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 57 of 127 PageID #:1055




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 472 – Lakewood, Washington
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 22

                                           Store 473 – Cumming, Georgia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26

                                           Store 476 – Nashville, Tennessee
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 477 – Totowa, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 5
                                           Number of Associates: 82

                                           Store 478 – Corvallis, Oregon
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 480 – West Melbourne, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 481 – Lewisville, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25




                                          51
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 58 of 127 PageID #:1056




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 482 – Woodbury, Minnesota
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 33

                                           Store 483 – Greenville, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 30

                                           Store 484 – Jacksonville, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 485 – Las Vegas, Nevada
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 28

                                           Store 486 – Skokie, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 47

                                           Store 487 – Hyannis, Massachusetts
                                           Number of ASMs: 4
                                           Number of DSs: 3
                                           Number of Associates: 59

                                           Store 490 – Springfield, Missouri
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 43




                                          52
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 59 of 127 PageID #:1057




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 491 – Mesa, Arizona
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 492 – Metairie, Louisiana
                                           Number of ASMs: 4
                                           Number of DSs: 6
                                           Number of Associates: 72

                                           Store 495 – Chicago, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 32

                                           Store 496 – Jackson, Michigan
                                           Number of ASMs: 0
                                           Number of DSs: 3
                                           Number of Associates: 9

                                           Store 497 – McDonough, Georgia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 498 – Layton, Utah
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 16

                                           Store 499 – Mequon, Wisconsin
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 19




                                          53
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 60 of 127 PageID #:1058




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 500 – Florence, South Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 14

                                           Store 501 – Beavercreek, Ohio
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 14

                                           Store 502 – Corpus Christi, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 30

                                           Store 503 – Las Vegas, Nevada
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 39

                                           Store 504 – The Woodlands, Texas
                                           Number of ASMs: 5
                                           Number of DSs: 4
                                           Number of Associates: 79

                                           Store 506 – Chicago, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 507 – Oceanside, New York
                                           Number of ASMs: 3
                                           Number of DSs: 5
                                           Number of Associates: 72




                                          54
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 61 of 127 PageID #:1059




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 508 – Huntsville, Alabama
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 19

                                           Store 509 – Vineland, New Jersey
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 12

                                           Store 510 – Brighton, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 511 – New Hartford, New York
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 512 – Elizabethtown, Kentucky
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 13

                                           Store 513 – Panama City, Florida
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 17

                                           Store 514 – Mesquite, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 22




                                          55
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 62 of 127 PageID #:1060




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 515 – DeWitt, New York
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 24

                                           Store 516 – Lithonia, Georgia
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 12

                                           Store 517 – North Little Rock, Arkansas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 20

                                           Store 518 – Vero Beach, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 26

                                           Store 519 – Beaumont, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 520 – Portage, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 27

                                           Store 521 – Hamden, Connecticut
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 24




                                          56
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 63 of 127 PageID #:1061




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 523 – Ocala, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 18

                                           Store 524 – Santa Fe, New Mexico
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26

                                           Store 525 – Pensacola, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 39

                                           Store 526 – LaFayette, Indiana
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 528 – Liverpool, New York
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 529 – Savannah, Georgia
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 41

                                           Store 530 – Waterloo, Iowa
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 18




                                          57
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 64 of 127 PageID #:1062




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 531 – Racine, Wisconsin
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 15

                                           Store 532 – Amherst, New York
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 38

                                           Store 533 – Madison, Tennessee
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 19

                                           Store 534 – Manalapan, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 50

                                           Store 535 – McAllen, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 537 – Laredo, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 18

                                           Store 541 – Baltimore, Maryland
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 31




                                          58
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 65 of 127 PageID #:1063




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 542 – Nashua, New Hampshire
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 49

                                           Store 543 – Largo, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 39

                                           Store 544 – Edmond, Oklahoma
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 30

                                           Store 545 – Fayetteville, Georgia
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 17

                                           Store 547 – Tyler, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 39

                                           Store 548 – Houma, Louisiana
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 15

                                           Store 549 – DeKalb, Illinois
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 15




                                          59
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 66 of 127 PageID #:1064




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 550 – Middletown, Rhode Island
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 19

                                           Store 551 – Bradenton, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 28

                                           Store 552 – Minnetonka, Minnesota
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 35

                                           Store 553 – East Elmhurst, New York
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 68

                                           Store 554 – Harrisonburg, Virginia
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 22

                                           Store 555 – Saratoga Springs, New York
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 22

                                           Store 556 – St. Augustine, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 24




                                          60
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 67 of 127 PageID #:1065




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 557 – Denton, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 36

                                           Store 558 – Chattanooga, Tennessee
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 559 – Coeur d’ Alene, Idaho
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 16

                                           Store 560 – Fayetteville, North Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 54

                                           Store 561 – Dubuque, Iowa
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 15

                                           Store 563 – Carson City, Nevada
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 16

                                           Store 564 – Carmel, Indiana
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 18




                                          61
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 68 of 127 PageID #:1066




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 565 – New York, New York
                                           Number of ASMs: 6
                                           Number of DSs: 11
                                           Number of Associates: 153

                                           Store 566 – Schenectady, New York
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 22

                                           Store 567 – Kingston, New York
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 19

                                           Store 570 – Bel Air, Maryland
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 29

                                           Store 571 – Cedar Park, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 42

                                           Store 572 – North Charleston, South Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 22

                                           Store 573 – Phoenix, Arizona
                                           Number of ASMs: 3
                                           Number of DSs: 4
                                           Number of Associates: 48




                                          62
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 69 of 127 PageID #:1067




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 574 – Issaquah, Washington
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 19

                                           Store 576 – Mentor, Ohio
                                           Number of ASMs: 2
                                           Number of DSs: 3
                                           Number of Associates: 22

                                           Store 578 – Baton Rouge, Louisiana
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 579 – Miami, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 4
                                           Number of Associates: 37

                                           Store 580 – Lake Charles, Louisiana
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 15

                                           Store 582 – Monroe, Louisiana
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 17

                                           Store 584 – Springfield, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 29




                                          63
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 70 of 127 PageID #:1068




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 585 – College Station, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 34

                                           Store 588 – Chicago Ridge, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 57

                                           Store 589 – D’Iberville, Mississippi
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 15

                                           Store 590 – Mobile, Alabama
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 15

                                           Store 591 – Avondale, Arizona
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 592 – Charleston, South Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 594 – Madison, Wisconsin
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 21




                                          64
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 71 of 127 PageID #:1069




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 595 – Cincinnati, Ohio
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 14

                                           Store 596 – Jackson, Tennessee
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 597 – Shelton, Connecticut
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 29

                                           Store 598 – Hollywood, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 604 – Carbondale, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 20

                                           Store 605 – Parker, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 16

                                           Store 606 – Surprise, Arizona
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 27




                                          65
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 72 of 127 PageID #:1070




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 607 – Brooklyn, Ohio
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 14

                                           Store 609 – Seattle, Washington
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 24

                                           Store 610 – Lansing, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 16

                                           Store 611 – Murfreesboro, Tennessee
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 29

                                           Store 612 – Keene, New Hampshire
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 613 – Orlando, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 13

                                           Store 614 – Lufkin, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 13




                                          66
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 73 of 127 PageID #:1071




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 615 – Abilene, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 15

                                           Store 616 – Newton, New Jersey
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 18

                                           Store 617 – Stafford, Virginia
                                           Number of ASMs: 0
                                           Number of DSs: 2
                                           Number of Associates: 24

                                           Store 618 – Kokomo, Indiana
                                           Number of ASMs: 0
                                           Number of DSs: 3
                                           Number of Associates: 13

                                           Store 619 – Plattsburgh, New York
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 621 – Southington, Connecticut
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 24

                                           Store 622 – Kansas City, Missouri
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 19




                                          67
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 74 of 127 PageID #:1072




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 623 – Frankfort, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 624 – Watauga, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 28

                                           Store 625 – Arlington, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 19

                                           Store 626 – Idaho Falls, Indiana
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 20

                                           Store 627 – Jersey City, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 51

                                           Store 628 – Joliet, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 24

                                           Store 629 – Farmingdale, New York
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 49




                                          68
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 75 of 127 PageID #:1073




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 630 – Roanoke, Virginia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 24

                                           Store 631 – Norridge, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 632 – Lubbock, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 39

                                           Store 633 – Portland, Oregon
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 28

                                           Store 637 – Cedar Hill, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 19

                                           Store 752 – Hilliard, Ohio
                                           Number of ASMs: 0
                                           Number of DSs: 2
                                           Number of Associates: 15

                                           Store 754 – Plainview, New York
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 60




                                          69
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 76 of 127 PageID #:1074




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 755 – Parsippany, New Jersey
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 756 – Hooksett, New Hampshire
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 31

                                           Store 757 – Cranberry Twp., Pennsylvania
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 22

                                           Store 758 – Columbus, Indiana
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 16

                                           Store 759 – Sanford, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 22

                                           Store 760 – East Wenatchee, Washington
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 12

                                           Store 761 – Lawrence, Kansas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 18




                                          70
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 77 of 127 PageID #:1075




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 762 – Traverse City, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 763 – Raynham, Massachusetts
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 764 – Park City, Utah
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 765 – Fredericksburg, Virginia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 766 – Tuscon, Arizona
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 31

                                           Store 767 – Port Chester, New York
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 43

                                           Store 768 – Mason, Ohio
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 33




                                          71
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 78 of 127 PageID #:1076




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 769 – Waco, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26

                                           Store 771 – Omaha, Nebraska
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 50

                                           Store 772 – Myrtle Beach, South Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 40

                                           Store 773 – Daphne, Alabama
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 774 – Durham, North Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 47

                                           Store 775 – Easton, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 39

                                           Store 777 – Washington City, Utah
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26




                                          72
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 79 of 127 PageID #:1077




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 778 – Sherman, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 780 – Woodbridge, Virginia
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 42

                                           Store 781 – Poughkeepsie, New York
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 34

                                           Store 783 – Ogden, Utah
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 17

                                           Store 784 – Mansfield, Ohio
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 12

                                           Store 785 – Wethersfield, Connecticut
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 32

                                           Store 787 – Grove City, Ohio
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 16




                                          73
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 80 of 127 PageID #:1078




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 788 – Mt. Laurel, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 44

                                           Store 789 – Monroeville, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 29

                                           Store 790 – Las Cruces, New Mexico
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 15

                                           Store 791 – Forest Park, Illinois
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 22

                                           Store 800 – Lexington, Kentucky
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 29

                                           Store 801 – Tupelo, Mississippi
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 13

                                           Store 802 – West Jordan, Utah
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 19




                                          74
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 81 of 127 PageID #:1079




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 803 – Texarkana, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 804 – Upper Arlington, Ohio
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 20

                                           Store 805 – Germantown, Maryland
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 30

                                           Store 807 – Chandler, Arizona
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 808 – Kissimmee, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 32

                                           Store 810 – Somerville, Massachusetts
                                           Number of ASMs: 4
                                           Number of DSs: 1
                                           Number of Associates: 58

                                           Store 812 – Bend, Oregon
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 28




                                          75
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 82 of 127 PageID #:1080




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 813 – Mayfield Heights, Ohio
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 814 – Indianapolis, Indiana
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 15

                                           Store 815 – Valparaiso, Indiana
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 24

                                           Store 816 – St. Cloud, Minnesota
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 817 – Hamilton, Ohio
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 20

                                           Store 819 – Westminster, Maryland
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 16

                                           Store 823 – Altoona, Pennsylvania
                                           Number of ASMs: 1
                                           Number of DSs: 3
                                           Number of Associates: 22




                                          76
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 83 of 127 PageID #:1081




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 824 – Ithaca, New York
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 15

                                           Store 825 – McKinney, Texas
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 34

                                           Store 826 – Johnstown, Pennsylvania
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 14

                                           Store 827 – West Des Moines, Iowa
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 31

                                           Store 828 – Auburn, New York
                                           Number of ASMs: 0
                                           Number of DSs: 1
                                           Number of Associates: 31

                                           Store 829 – Newburgh, New York
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 18

                                           Store 832 – Raleigh, North Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 41




                                          77
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 84 of 127 PageID #:1082




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 833 – Melbourne, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 21

                                           Store 834 – Hermitage, Tennessee
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 836 – Seekonk, Massachusetts
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 31

                                           Store 837 – Brookfield, Connecticut
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 47

                                           Store 838 – Highlands Ranch, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 25

                                           Store 839 – Green Bay, Wisconsin
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 26

                                           Store 841 – Concord, New Hampshire
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 29




                                          78
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 85 of 127 PageID #:1083




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 842 – Howell, New Jersey
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 844 – North Dartmouth, Massachusetts
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 23

                                           Store 845 – Victoria, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 846 – Pompano Beach, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 848 – Topeka, Kansas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 22

                                           Store 849 – Pittsfield, Massachusetts
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 851 – San Angelo, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 12




                                          79
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 86 of 127 PageID #:1084




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1001 – Pearland, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 27

                                           Store 1002 – San Antonio, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26

                                           Store 1005 – Canton, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 1006 – Walker, Michigan
                                           Number of ASMs: 3
                                           Number of DSs: 3
                                           Number of Associates: 22

                                           Store 1007 – Dover, New Hampshire
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 1009 – Staten Island, New York
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 45

                                           Store 1010 – Port Richey, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 29




                                          80
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 87 of 127 PageID #:1085




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1011 – Aberdeen, North Carolina
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 1012 – Greeley, Colorado
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 24

                                           Store 1013 – Pueblo, Colorado
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 13

                                           Store 1014 – Atlanta, Georgia
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 1015 – Staten Island, New York
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 57

                                           Store 1017 – Rockaway, New Jersey
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 33

                                           Store 1018 – Alabaster, Alabama
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 18




                                          81
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 88 of 127 PageID #:1086




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1019 – Paramus, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 5
                                           Number of Associates: 89

                                           Store 1021 – Omaha, Nebraska
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 34

                                           Store 1022 – Burlington, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 32

                                           Store 1023 – Fairfield, Connecticut
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 40

                                           Store 1024 – Rockwall, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 24

                                           Store 1026 – Saugus, Massachusetts
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 35

                                           Store 1027 – Williamsburg, Virginia
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 26




                                          82
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 89 of 127 PageID #:1087




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1028 – Lakeland, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 34

                                           Store 1029 – Hattiesburg, Minnesota
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 16

                                           Store 1031 – Aurora, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 26

                                           Store 1033 – Gilbert, Arizona
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 34

                                           Store 1034 – North Attleboro, Massachusetts
                                           Number of ASMs: 2
                                           Number of DSs: 2
                                           Number of Associates: 27

                                           Store 1035 – Knoxville, Tennessee
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 32

                                           Store 1036 – Columbus, Ohio
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 21




                                          83
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 90 of 127 PageID #:1088




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1037 – Missouri City, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 31

                                           Store 1038 – Brookfield, Wisconsin
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 59

                                           Store 1039 – Kinnelon, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 33

                                           Store 1040 – Manahawkin, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 23

                                           Store 1041 – St. Joseph, Missouri
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 15

                                           Store 1042 – State College, Pennsylvania
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 21

                                           Store 1043 – Morgantown, West Virginia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20




                                          84
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 91 of 127 PageID #:1089




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1044 – Plymouth, Massachusetts
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 1045 – Alexandria, Virginia
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 31

                                           Store 1046 – Allen Park, Michigan
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 1048 – Estero, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 30

                                           Store 1049 – Lincoln, Nebraska
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 1050 – Tulsa, Oklahoma
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 28

                                           Store 1051 – Goldsboro, North Carolina
                                           Number of ASMs: 0
                                           Number of DSs: 2
                                           Number of Associates: 19




                                          85
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 92 of 127 PageID #:1090




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1052 – Thornton, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 19

                                           Store 1053 – Crestview Hills, Kentucky
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 34

                                           Store 1056 – Blasdell, New York
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 35

                                           Store 1057 – Salisbury, Maryland
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 13

                                           Store 1059 – Williamsville, New York
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 42

                                           Store 1060 – Clarksville, Indiana
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 19

                                           Store 1061 – Huber Heights, Ohio
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 16




                                          86
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 93 of 127 PageID #:1091




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1062 – Paducah, Kentucky
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 1064 – Bolingbrook, Illinois
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 41

                                           Store 1065 – Joplin, Missouri
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 16

                                           Store 1067 – Raleigh, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 1068 – Longview, Washington
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 12

                                           Store 1069 – Cypress, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 36

                                           Store 1071 – Everett, Washington
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 22




                                          87
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 94 of 127 PageID #:1092




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1072 – Boise, Idaho
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 18

                                           Store 1073 – Kalispell, Montana
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 18

                                           Store 1074 – Glenwood Springs, Colorado
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 1075 – Sheboygan, Wisconsin
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 13

                                           Store 1076 – Flagstaff, Arizona
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 22

                                           Store 1077 – Phoenix, Arizona
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 30

                                           Store 1079 – Aberdeen, New Jersey
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 26




                                          88
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 95 of 127 PageID #:1093




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1080 – Brownsville, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 16

                                           Store 1081 – Washington, D.C.
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 49

                                           Store 1082 – Toledo, Ohio
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 1084 – Watertown, New York
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 15

                                           Store 1088 – Wausau, Wisconsin
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 16

                                           Store 1089 – Hixson, Tennessee
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 18

                                           Store 1090 – Leominster, Massachusetts
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 28




                                          89
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 96 of 127 PageID #:1094




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1091 – Rio Grande, New Jersey
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 25

                                           Store 1093 – Dedham, Massachusetts
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 51

                                           Store 1096 – Clifton, New Jersey
                                           Number of ASMs: 4
                                           Number of DSs: 1
                                           Number of Associates: 45

                                           Store 1098 – Sparks, Nevada
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 21

                                           Store 1100 – Dorchester, Massachusetts
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 37

                                           Store 1101 – Austin, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 1104 – Medina, Ohio
                                           Number of ASMs: 0
                                           Number of DSs: 3
                                           Number of Associates: 12




                                          90
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 97 of 127 PageID #:1095




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1105 – Tuscon, Arizona
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 1106 – Colorado Springs, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 29

                                           Store 1107 – San Marcos, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 29

                                           Store 1108 – Longmont, Colorado
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 24

                                           Store 1109 – Jonesboro, Arkansas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 1110 – Miami, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 31

                                           Store 1111 – Henrietta, New York
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 35




                                          91
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 98 of 127 PageID #:1096




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1112 – Rutland, Vermont
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 1113 – Ocean City, Maryland
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 1114 – Pocatello, Idaho
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 16

                                           Store 1115 – Bozeman, Montana
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 1117 – Conroe, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 26

                                           Store 1119 – Peachtree City, Georgia
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 1120 – Spring Valley, New York
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 37




                                          92
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 99 of 127 PageID #:1097




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1125 – Naples, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 28

                                           Store 1126 – Greensboro, North Carolina
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 27

                                           Store 1127 – Keizer, Oregon
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 28

                                           Store 1129 – Olympia, Washington
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 24

                                           Store 1130 – East Vancouver, Washington
                                           Number of ASMs: 1
                                           Number of DSs: 3
                                           Number of Associates: 22

                                           Store 1131 – Jacksonville, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 23

                                           Store 1132 – Delray Beach, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 39




                                          93
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                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1133 – Albuquerque, New Mexico
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 18

                                           Store 1134 – Aiken, South Carolina
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 16

                                           Store 1135 – Mechanicsburg, Pennsylvania
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 39

                                           Store 1138 – Jacksonville Beach, Florida
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 31

                                           Store 1140 – American Fork, Utah
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 13

                                           Store 1141 – Peoria, Arizona
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 23

                                           Store 1142 – Rogers, Arizona
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 22




                                          94
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 101 of 127 PageID #:1099




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1143 – Orlando, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 24

                                           Store 1144 – North Logan, Utah
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 14

                                           Store 1145 – Bloomington, Indiana
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 21

                                           Store 1146 – Las Vegas, Nevada
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 25

                                           Store 1147 – Loveland, Colorado
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 21

                                           Store 1148 – Yuma, Arizona
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 1149 – Sioux Falls, South Dakota
                                           Number of ASMs: 3
                                           Number of DSs: 2
                                           Number of Associates: 47




                                          95
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 102 of 127 PageID #:1100




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1150 – Augusta, Maine
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 13

                                           Store 1151 – Mesa, Arizona
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 21

                                           Store 1153 – Brunswick, Maine
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 14

                                           Store 1154 – Petoskey, Michigan
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 20

                                           Store 1155 – Wichita Falls, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 18

                                           Store 1157 – Missoula, Montana
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 23

                                           Store 1158 – Lake Worth, Texas
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 19




                                          96
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 103 of 127 PageID #:1101




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1159 – Nampa, Idaho
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 16

                                           Store 1160 – McHenry, Illinois
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 20

                                           Store 1161 – Austin, Texas
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 19

                                           Store 1162 – Mesa, Arizona
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 22

                                           Store 1164 – Midland, Michigan
                                           Number of ASMs: 1
                                           Number of DSs: 3
                                           Number of Associates: 14

                                           Store 1167 – Auburn, Maine
                                           Number of ASMs: 1
                                           Number of DSs: 2
                                           Number of Associates: 15

                                           Store 1168 – Helena, Montana
                                           Number of ASMs: 1
                                           Number of DSs: 3
                                           Number of Associates: 13




                                          97
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 104 of 127 PageID #:1102




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1169 – Oxford, Alabama
                                           Number of ASMs: 1
                                           Number of DSs: 1
                                           Number of Associates: 12

                                           Store 1170 – Gainesville, Georgia
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 17

                                           Store 1172 – Port Arthur, Texas
                                           Number of ASMs: 0
                                           Number of DSs: 1
                                           Number of Associates: 15

                                           Store 1173 – East Knoxville, Tennessee
                                           Number of ASMs: 1
                                           Number of DSs: 0
                                           Number of Associates: 18

                                           Store 1174 – Enfield, Connecticut
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 1177 – Washington, D.C.
                                           Number of ASMs: 3
                                           Number of DSs: 1
                                           Number of Associates: 60

                                           Store 1178 – York, Pennsylvania
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 34




                                          98
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 105 of 127 PageID #:1103




                                                Stores where the ASM Plaintiffs did not
                                                work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                               Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                               Time Period, but where they Seek to have
                                                              Notice Sent

                                           Store 1179 – Mooresville, North Carolina
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 35

                                           Store 1182 – Cincinnati, Ohio
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 16

                                           Store 1183 – Dothan, Alabama
                                           Number of ASMs: 1
                                           Number of DSs: 3
                                           Number of Associates: 23

                                           Store 1184 – Papillion, Nebraska
                                           Number of ASMs: 2
                                           Number of DSs: 0
                                           Number of Associates: 27

                                           Store 1186 – Milford, Massachusetts
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 27

                                           Store 1187 – Orange City, Florida
                                           Number of ASMs: 3
                                           Number of DSs: 0
                                           Number of Associates: 16

                                           Store 1190 – Gulf Shores, Alabama
                                           Number of ASMs: 2
                                           Number of DSs: 1
                                           Number of Associates: 18




                                          99
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 106 of 127 PageID #:1104




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1191 – Meridian, Mississippi
                                            Number of ASMs: 0
                                            Number of DSs: 1
                                            Number of Associates: 14

                                            Store 1192 – Sewell, New Jersey
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 29

                                            Store 1193 – Las Vegas, Nevada
                                            Number of ASMs: 2
                                            Number of DSs: 2
                                            Number of Associates: 29

                                            Store 1194 – New York, New York
                                            Number of ASMs: 3
                                            Number of DSs: 4
                                            Number of Associates: 42

                                            Store 1195 – Port St. Lucie, Florida
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 22

                                            Store 1198 – Bristol, Tennessee
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 13

                                            Store 1201 – Christiansburg, Virginia
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 17




                                          100
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 107 of 127 PageID #:1105




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1202 – Bossier City, Louisiana
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 19

                                            Store 1203 – Willowbrook, Illinois
                                            Number of ASMs: 3
                                            Number of DSs: 1
                                            Number of Associates: 33

                                            Store 1205 – Harvey, Louisiana
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 17

                                            Store 1206 – Tampa, Florida
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 14

                                            Store 1207 – Seattle, Washington
                                            Number of ASMs: 3
                                            Number of DSs: 2
                                            Number of Associates: 32

                                            Store 1208 – Batavia, New York
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 23

                                            Store 1209 – Wesley Chapel, Florida
                                            Number of ASMs: 3
                                            Number of DSs: 1
                                            Number of Associates: 33




                                          101
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 108 of 127 PageID #:1106




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1210 – Great Falls, Montana
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 19

                                            Store 1211 – Sebring, Florida
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 16

                                            Store 1212 – Euless, Texas
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 24

                                            Store 1213 – Chesterfield, Michigan
                                            Number of ASMs: 3
                                            Number of DSs: 2
                                            Number of Associates: 32

                                            Store 1214 – Virginia Beach, Virginia
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 19

                                            Store 1215 – Brooksville, Florida
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 23

                                            Store 1216 – Casper, Wyoming
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 14




                                          102
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 109 of 127 PageID #:1107




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1217 – Springfield, Ohio
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 15

                                            Store 1218 – Coralville, Iowa
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 21

                                            Store 1219 – Torrington, Connecticut
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 14

                                            Store 1221 – Wilson, North Carolina
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 18

                                            Store 1222 – Moscow, Idaho
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 16

                                            Store 1223 – Triadelphia, West Virginia
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 21

                                            Store 1224 – Tuscon, Arizona
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 18




                                          103
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 110 of 127 PageID #:1108




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1225 – Cheyenne, Wyoming
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 18

                                            Store 1226 – Perrysburg, Ohio
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 14

                                            Store 1227 – Foxborough, Massachusetts
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 23

                                            Store 1228 – Albuquerque, New Mexico
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 18

                                            Store 1230 – New Hyde Park, New York
                                            Number of ASMs: 3
                                            Number of DSs: 2
                                            Number of Associates: 67

                                            Store 1231 – Phoenix, Arizona
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 19

                                            Store 1232 – Casa Grande, Arizona
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 13




                                          104
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 111 of 127 PageID #:1109




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1233 – Suwanee, Georgia
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 17

                                            Store 1234 – Lady Lake, Florida
                                            Number of ASMs: 3
                                            Number of DSs: 2
                                            Number of Associates: 39

                                            Store 1235 – Oneonta, New York
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 17

                                            Store 1236 – Canandaigua, New York
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 18

                                            Store 1237 – Morehead City, North Carolina
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 16

                                            Store 1238 – Waterford, Connecticut
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 20

                                            Store 1239 – Weatherford, Texas
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 19




                                          105
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 112 of 127 PageID #:1110




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1241 – Syracuse, New York
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 17

                                            Store 1242 – Noblesville, Indiana
                                            Number of ASMs: 3
                                            Number of DSs: 0
                                            Number of Associates: 22

                                            Store 1243 – Glenmont, New York
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 14

                                            Store 1244 – Portsmouth, New Hampshire
                                            Number of ASMs: 3
                                            Number of DSs: 0
                                            Number of Associates: 25

                                            Store 1247 – Montgomery, Alabama
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 22

                                            Store 1248 – Gainesville, Virginia
                                            Number of ASMs: 3
                                            Number of DSs: 1
                                            Number of Associates: 33

                                            Store 1249 – Council Bluffs, Iowa
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 15




                                          106
Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 113 of 127 PageID #:1111




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1250 – Manhattan, Kansas
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 15

                                            Store 1251 – Muncy, Pennsylvania
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 14

                                            Store 1252 – Cleveland, Tennessee
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 18

                                            Store 1253 – Harker Heights, Texas
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 20

                                            Store 1254 – Waynesboro, Virginia
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 16

                                            Store 1255 – Suffolk, Virginia
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 22

                                            Store 1256 – Machesney Park, Illinois
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 17




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Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 114 of 127 PageID #:1112




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1257 – Queen Creek, Arizona
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 18

                                            Store 1258 – Hingham, Massachusetts
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 30

                                            Store 1259 – Flowood, Mississippi
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 29

                                            Store 1260 – Sandy, Utah
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 17

                                            Store 1261 – Lake St. Louis, Missouri
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 26

                                            Store 1262 – Mansfield, Texas
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 19

                                            Store 1263 – Bullhead City, Arizona
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 23




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Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 115 of 127 PageID #:1113




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1264 – Bourbonnais, Illinois
                                            Number of ASMs: 0
                                            Number of DSs: 1
                                            Number of Associates: 17

                                            Store 1265 – Warner Robins, Georgia
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 16

                                            Store 1267 – Spring Hill, Tennessee
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 10

                                            Store 1268 – Sarasota, Florida
                                            Number of ASMs: 2
                                            Number of DSs: 7
                                            Number of Associates: 50

                                            Store 1272 – East Fort Myers, Florida
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 19

                                            Store 1273 – Tulsa, Oklahoma
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 17

                                            Store 1276 – Dayville, Connecticut
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 15




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Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 116 of 127 PageID #:1114




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1277 – Selinsgrove, Pennsylvania
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 15

                                            Store 1278 – Moore, Oklahoma
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 19

                                            Store 1282 – Branson, Missouri
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 14

                                            Store 1283 – Chicago, Illinois
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 29

                                            Store 1284 – Opelika, Alabama
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 20

                                            Store 1285 – Hot Springs, Arkansas
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 20

                                            Store 1286 – Harlingen, Texas
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 15




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Case: 1:17-cv-05124 Document #: 59 Filed: 12/20/17 Page 117 of 127 PageID #:1115




                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1288 – Leesburg, Virginia
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 20

                                            Store 1289 – Alexandria, Louisiana
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 21

                                            Store 1290 – Germantown, Tennessee
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 21

                                            Store 1291 – El Paso, Texas
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 23

                                            Store 1292 – Quincy, Illinois
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 18

                                            Store 1294 – Plaistow, New Hampshire
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 20

                                            Store 1296 – Bronx, New York
                                            Number of ASMs: 3
                                            Number of DSs: 1
                                            Number of Associates: 22




                                          111
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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1297 – Strongsville, Ohio
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 21

                                            Store 1298 – Martinsburg, West Virginia
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 16

                                            Store 1300 – Stowe, Pennsylvania
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 19

                                            Store 1302 – Canton, Georgia
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 18

                                            Store 1304 – Cape Coral, Florida
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 46

                                            Store 1306 – Homestead, Florida
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 14

                                            Store 1307 – Prescott, Arizona
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 24




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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1308 – Schererville, Indiana
                                            Number of ASMs: 3
                                            Number of DSs: 1
                                            Number of Associates: 34

                                            Store 1309 – Hamilton, New Jersey
                                            Number of ASMs: 3
                                            Number of DSs: 0
                                            Number of Associates: 30

                                            Store 1310 – Billings, Montana
                                            Number of ASMs: 3
                                            Number of DSs: 0
                                            Number of Associates: 28

                                            Store 1311 – Flemington, New Jersey
                                            Number of ASMs: 3
                                            Number of DSs: 0
                                            Number of Associates: 36

                                            Store 1312 – Collierville, Tennessee
                                            Number of ASMs: 0
                                            Number of DSs: 3
                                            Number of Associates: 25

                                            Store 1313 – Southaven, Mississippi
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 24

                                            Store 1314 – Riverhead, New York
                                            Number of ASMs: 3
                                            Number of DSs: 0
                                            Number of Associates: 42




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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1316 – Hadley, Massachusetts
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 30

                                            Store 1317 – Selma, Texas
                                            Number of ASMs: 3
                                            Number of DSs: 0
                                            Number of Associates: 33

                                            Store 1318 – Toms River, New Jersey
                                            Number of ASMs: 3
                                            Number of DSs: 1
                                            Number of Associates: 51

                                            Store 1320 – Amherst, New Hampshire
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 19

                                            Store 1321 – Durango, Colorado
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 25

                                            Store 1326 – Aiea, Hawaii
                                            Number of ASMs: 3
                                            Number of DSs: 1
                                            Number of Associates: 45

                                            Store 1327 – Stroudsburg, Pennsylvania
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 22




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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1331 – Lancaster, Pennsylvania
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 41

                                            Store 1332 – Union Gap, Washington
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 16

                                            Store 1333 – Rapid City, South Dakota
                                            Number of ASMs: 0
                                            Number of DSs: 2
                                            Number of Associates: 13

                                            Store 1336 – Burlington, Washington
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 22

                                            Store 1338 – Winter Garden, Florida
                                            Number of ASMs: 3
                                            Number of DSs: 1
                                            Number of Associates: 43

                                            Store 1339 – Medford, Oregon
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 25

                                            Store 1341 – Christiana, Delaware
                                            Number of ASMs: 3
                                            Number of DSs: 2
                                            Number of Associates: 50




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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1342 – Columbia, Missouri
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 22

                                            Store 1343 – Winchester, Virginia
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 16

                                            Store 1344 – Florence, Alabama
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 16

                                            Store 1346 – Victor, New York
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 29

                                            Store 1349 – Duluth, Minnesota
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 22

                                            Store 1350 – Clarksville, Tennessee
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 16

                                            Store 1353 – Apopka, Florida
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 20




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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1356 – Roseville, Minnesota
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 29

                                            Store 1361 – White Lake Twp., Michigan
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 23

                                            Store 1363 – Nashville, Tennessee
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 19

                                            Store 1364 – Sandusky, Ohio
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 17

                                            Store 1365 – Longview, Texas
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 23

                                            Store 1367 – Panama City Beach, Florida
                                            Number of ASMs: 2
                                            Number of DSs: 3
                                            Number of Associates: 17

                                            Store 1369 – Capitol Heights, Maryland
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 28




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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1370 – Honolulu, Hawaii
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 29

                                            Store 1372 – Silverdale, Washington
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 19

                                            Store 1373 – Rio Rancho, New Mexico
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 14

                                            Store 1374 – Kenosha, Wisconsin
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 16

                                            Store 1375 – Grand Island, Nebraska
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 17

                                            Store 1378 – Osage Beach, Missouri
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 15

                                            Store 1385 – Niagara Falls, New York
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 15




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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1386 – Bowling Green, Kentucky
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 17

                                            Store 1387 – California, Maryland
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 15

                                            Store 1391 – Lawton, Oklahoma
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 17

                                            Store 1392 – Denham Springs, Louisiana
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 23

                                            Store 1395 – Bismarck, North Dakota
                                            Number of ASMs: 1
                                            Number of DSs: 0
                                            Number of Associates: 19

                                            Store 1396 – Decatur, Alabama
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 14

                                            Store 1403 – Flower Mound, Texas
                                            Number of ASMs: 2
                                            Number of DSs: 1
                                            Number of Associates: 29




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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1404 – Sioux City, Iowa
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 11

                                            Store 1405 – Holly Springs, North Carolina
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 26

                                            Store 1408 – New York, New York
                                            Number of ASMs: 2
                                            Number of DSs: 2
                                            Number of Associates: 19

                                            Store 1409 – Tuscaloosa, Alabama
                                            Number of ASMs: 2
                                            Number of DSs: 0
                                            Number of Associates: 23

                                            Store 1410 – Twin Falls, Idaho
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 18

                                            Store 1413 – Brooklyn, New York
                                            Number of ASMs: 3
                                            Number of DSs: 6
                                            Number of Associates: 50

                                            Store 1414 – Hudson, Massachusetts
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 18




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                                                 Stores where the ASM Plaintiffs did not
                                                 work and for which they Fail to Provide
  Stores at which the ASM Declarants
                                                Any Evidence from During the Relevant
Worked During the Relevant Time Period1
                                                Time Period, but where they Seek to have
                                                               Notice Sent

                                            Store 1416 – Valdosta, Georgia
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 13

                                            Store 1417 – Guilford, Connecticut
                                            Number of ASMs: 1
                                            Number of DSs: 2
                                            Number of Associates: 19

                                            Store 1421 – Conway, Arkansas
                                            Number of ASMs: 1
                                            Number of DSs: 1
                                            Number of Associates: 14

                                            Store 1422 – Rehoboth Beach, Delaware
                                            Number of ASMs: 3
                                            Number of DSs: 1
                                            Number of Associates: 36

                                            Store 1431 – Dulles, Virginia
                                            Number of ASMs: 3
                                            Number of DSs: 2
                                            Number of Associates: 67




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